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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                          )   CASE NO. 2:16-CV-00535
IDS PUBLISHING CORPORATION,               )
                                          )   JUDGE EDMUND A. SARGUS
       Plaintiff,                         )   MAGISTRATE JUDGE KIMBERLY A.
-vs-                                      )   JOLSON
                                          )
REISS PROFILE EUROPE, B.V.,               )
                                          )
       Defendant.                         )
                                          )




               DEFENDANT’S MEMORANDUM OF LAW
       IN SUPPORT OF ITS MOTION TO DISMISS THE COMPLAINT


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                      business under Ohio Revised Code § 2307.382(A)(1), and lacks the required
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                                PRELIMINARY STATEMENT
       This case has a tenuous, if any, connection to Ohio. It is between two foreign

corporations, regarding a license agreement that was chiefly negotiated in Germany, under which

defendant could sell certain intellectual property exclusively in several European countries. The

Court should therefore dismiss this case in its entirety for lack of personal jurisdiction over

defendant and forum non conveniens.

       Plaintiff-licensor IDS Publishing Corporation (“IDS”) is a company formed under Illinois

law. Although IDS has an office in Ohio, it was not registered in the state until shortly before

commencing this litigation. Indeed, it was not until 14 days before filing this action, and more

than ten years since first incorporating, that IDS became licensed to do business in Ohio as a

foreign corporation. Defendant-licensee Reiss Profile Europe B.V. (“RPE”) was formed under

Dutch law, operates its business the Netherlands, and is owned by residents of Belgium,

Germany and the Netherlands. RPE conducts no business in the United States (or Ohio).

       Apparently disenchanted with its existing European licensee, in 2005, IDS met twice with

RPE representatives in Germany. There the parties agreed on the broad structure of a future

relationship. A year later, once IDS terminated its outstanding European license agreement, IDS

and RPE consummated their agreement after additional negotiations by fax and email. At no

point did RPE visit Ohio, or the United States, to negotiate the license agreement.

       The license allowed RPE to sell a psychological test, developed by IDS, in Germany, the

Netherlands, Belgium, Luxembourg, France, and Italy—and nowhere else. RPE thus had

absolutely no rights in the United States, let alone Ohio, under the license. As contemplated,

RPE never made a single sale pursuant to the license within the United States (as it could not),

nor did it conduct any marketing or deliver any product anywhere in the United States, or

otherwise earn any revenue from the United States.

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       The relationship between RPE and IDS began to sour after about ten years. IDS hired

Dutch counsel to issue demand letters to RPE, to which RPE responded in kind. Then, in early

2016, RPE sought and obtained a preliminary injunction from a German court to enjoin IDS

from selling the psychological test within Germany (part of RPE’s exclusive license territory).

Several months later, IDS became licensed to do business in Ohio (solely to prosecute this

action) and commenced this litigation. But this forum is improper.

       First, this action should be dismissed in its entirety for a lack of personal jurisdiction.

IDS claims jurisdiction exists under the state’s long-arm statute, which provides jurisdiction if a

defendant transacts business in Ohio. Yet RPE did no such thing. Merely sending an executed

agreement to Ohio, dealing with a plaintiff that had an Ohio office, and tendering some payments

there – which is all IDS relies upon – is, as a matter of law, insufficient.

       Moreover, RPE’s contacts with Ohio do not meet constitutional requirements. Plainly,

RPE did not purposefully avail itself of the benefits and protections of Ohio law, this claim does

not arise from any such activities, and there is no substantial connection such that the exercise of

jurisdiction would be reasonable. RPE merely contracted with an Illinois corporation with an

Ohio office, to sell certain tests exclusively in European markets. There is indisputably no

exploitation of any U.S. market under the license.

       Second, the appropriate forum here is the Netherlands, so the case should be dismissed

for forum non conveniens. The Netherlands is an adequate and available forum where both

parties already have counsel. Further, both the public and private interest factors weigh heavily

in favor of dismissal because most witnesses and documents are located in Europe, the

documents will require costly translations and are subject to onerous European privacy laws,




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 Ohio has no interest in (and would be improperly burdened by) this litigation, and Dutch law

 governs.

         Finally, should the case proceed in this Court, then certain causes of action must be

 dismissed. The trademark and copyright causes of action fail to state a claim because they

 concern only actions RPE took in the license territory – none in the U.S. – and the Lanham Act

 and Copyright Act cannot apply extraterritorially here. Next, the fraud claim must be dismissed

 because it is entirely duplicative of the breach of contract claim. And IDS fails to allege any

 actionable damages arising from any injury to its business reputation.

         Therefore, RPE requests that this Court dismiss the action in its entirety, or, alternatively,

 dismiss certain causes of action that fail to state a claim.

                                                   FACTS 1

 A.      The Parties

         Plaintiff IDS is an Illinois corporation formed in March 2005. (Complaint ¶ 1; Evans

 Dec. ¶¶ 2-4; Evans Dec. Ex. A.) The Complaint alleges that IDS is “licensed as a foreign for-

 profit corporation in Ohio” with its principal place of business there. (Complaint ¶ 1.)

         Noticeably absent from the Complaint, however, is that IDS only became licensed as a

 foreign corporation in Ohio on May 31, 2016 – more than ten years after it was formed, and just

 two weeks before IDS commenced this action – only to enable IDS to prosecute this case. (See

 Complaint ¶ 1; Evans Dec.¶¶ 2-4; Evans Dec. Ex. B & C.)




 1
   The following recitation of facts is taken from the Complaint and documentary evidence attached thereto.
 Although certain facts in the Complaint are misstated, defendant accepts them for purposes of this motion.
 Moreover, additional facts concerning defendant’s jurisdictional and forum non conveniens arguments are drawn
 from the declarations of Dr. Holger Müller (“Müller Dec.”), Jan-Willem van Koeveringe (“Koeveringe Dec.”), John
 Delnoy (“Delnoy Dec.”), Peter Boltersdorf (“Boltersdorf Dec.”), and Terry J. Evans (“Evans Dec.”), and the
 exhibits annexed to those declarations, all filed contemporaneously herewith.

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          IDS was allegedly founded by Dr. Steven Reiss, the author of the “Reiss Motivation

 Profile,” a psychological test that ostensibly measures the “root causes of human motivation and

 behavior[.]” (Complaint ¶¶ 6, 8-9.)

          Defendant RPE is a corporation formed under Dutch law and operating in the

 Netherlands. (Delnoy Dec. ¶ 2; Boltersdorf Dec. ¶ 2; see also Complaint ¶ 2.) RPE is not

 licensed to conduct business in the United States. (Delnoy Dec. ¶ 3; Boltersdorf Dec. ¶ 3.) 2

 RPE is owned and operated by residents of Belgium, the Netherlands and Germany. (See

 Complaint Ex. A at p. 2; Delnoy Dec. ¶ 1.) Moreover, RPE does not have in Ohio (or the United

 States) any employees, documents, offices, registered agents, or property. (Delnoy Dec. ¶ 3;

 Boltersdorf Dec. ¶ 3.)

 B.       The License

          IDS, as licensor, and RPE, as licensee, entered into a License Agreement in or about

 October 2006 (“License”). (See Complaint ¶ 11; Complaint Ex. A.)

          1.       Negotiations Of The License

          In 2002, IDS had entered into a licensing agreement with a non-party that covered certain

 territory in Europe, which IDS terminated on various grounds in 2006. (Complaint Ex. A at p. 7,

 Tenth Clause.) Prior to termination, IDS searched for a new licensing partner in Europe.

          In Germany, Dr. Reiss and RPE representatives, Messrs. Delnoy and Boltersdorf, met

 twice in the summer of 2005. First, they met in Frankfurt, then again in Halle. At those

 meetings, the parties reached a general agreement, including that RPE would be an exclusive

 licensee in certain specified European territories and RPE would pay an “up front” license fee.



 2
  The allegation concerning RPE’s agent in the United States for service of process is incorrect. (Delnoy Dec. ¶ 2 at
 n. 1; Boltersdorf Dec. ¶ 2 at n. 1; Complaint ¶ 2.) Indeed, after IDS attempted service on that agent, it was informed
 of the error and attempted service again directly on RPE. (See ECF No. 8-11.)

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 Subsequent details were discussed by e-mail and fax, and ultimately agreed upon once IDS

 terminated its prior license. RPE’s Dutch and German attorneys reviewed the draft agreement

 (but RPE did not engage United States counsel for review). A year later, the parties reached

 agreement. The RPE shareholders ultimately executed the License in the Netherlands and faxed

 it to Dr. Reiss in Ohio. (Delnoy Dec. ¶¶ 4-8; Boltersdorf Dec. ¶¶ 4-8; Müller Dec. ¶ 2;

 Koeveringe Dec. ¶ 2.)

        Neither Messrs. Delnoy, Boltersdorf nor any other RPE representative travelled to Ohio

 for the License negotiations, nor has RPE conducted any activities in Ohio (or the United States)

 concerning the License or the Reiss Profile. RPE never made a single sale pursuant to the

 license within the United States (as it could not), nor did it conduct any marketing or deliver any

 product anywhere in the United States, or otherwise earn any revenue from the United States.

 (Delnoy Dec. ¶¶ 9-10; Boltersdorf Dec. ¶¶ 9-10.)

        2.      The License Territory

        The License specifically lists the countries in which RPE can market the “Reiss Profile.”

 In particular, the “License Territory” is defined as “the nations of Germany, Netherlands,

 Belgium, Luxembourg, France, and Italy…but nowhere else.” (Complaint Ex. A at p. 3; see also

 Complaint ¶ 15.) Moreover, “[a]ll rights of commercial exploitation transferred by IDS

 Publishing to RPE shall be limited to the License Territory.” (Complaint Ex. A at p. 3, Clause

 First (b).) Finally, IDS and RPE agreed “to do anything reasonable to create an effective, secure

 and high quality Reiss Profile test solution which meets the quality standards set by RPE for the

 different local European markets.” (Complaint Ex. A at p. 7, Clause Ninth (d) (emphasis

 added).)




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         3.       The License Payments

         Additionally, the License required various payments by RPE to IDS – all priced in euro

 currency, and to be paid in euros. For example, RPE had to pay IDS: 60,000 euros within

 several months of signing; “10 euros per copy” of each “Test”; a “one-time flat fee of 250 euros”

 for existing trained “Masters”; and “a one-time fee of 100 euros” for each new Master.

 (Complaint Ex. A at pp. 5-6, Clause Seventh.) Moreover, the prices were subject to annual

 increments “done on the basis of the Dutch CBS inflation,” or, if necessary, “some other widely

 used measure of Dutch inflation[.]” (Complaint Ex. A at p. 6, Clause Seventh (h).)

         Pursuant to IDS’s instructions, RPE wired its payments in euros to IDS. For almost four

 years those payments were sent to an account held in Missouri, through an intermediary bank in

 Great Britain. (Delnoy Dec. ¶ 11; Boltersdorf Dec. ¶ 11.)

 C.      Prior Dispute And Pending Litigation In Germany

         In January and February 2016, IDS and RPE exchanged letters regarding a dispute under

 the License. IDS was represented by a lawyer in the Netherlands, Ms. Esther Mommers. In

 January 2016, Ms. Mommers sent a demand letter, to which RPE’s German counsel, Dr. Holger

 Müller, replied. In February, Dr. Müller sent another letter to Ms. Mommers, stating that IDS

 violated the License by offering for sale the Reiss Profile tests in Germany (i.e., within the

 License Territory), to which she never substantively replied. (Müller Dec. ¶¶ 3-5; Müller Dec.

 Ex. A, B & C.) 3




 3
  Also in February 2016, RPE was sent a letter by IDS’s counsel, who was located in Washington, D.C. (Complaint
 Ex. D & E.) Indeed, that same Washington, D.C.-based attorney sent a letter to Mr. Boltersdorf and Dr. Müller,
 both in Germany, one year earlier. (Complaint Ex. B.)

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          IDS continued its infringing activity, so RPE filed suit in Germany. In March 2016, the

 court issued a preliminary injunction against IDS, without oral argument, enjoining it from

 offering the Reiss Profile for sale in Germany. The injunction remains in force and the litigation

 remains pending. (Müller Dec. ¶ 6; Müller Dec. Ex. D-1 & D-2.) 4

          At no point prior to this litigation, including in the License negotiation, was RPE or its

 counsel ever contacted by an Ohio-based attorney for IDS. (Delnoy Dec. ¶ 12; Boltersdorf Dec.

 ¶ 12; Müller Dec. ¶ 7; Koeveringe Dec. ¶ 6.)

 D.       The Complaint’s Allegations And Causes Of Action

          The Complaint alleges five causes of action: copyright infringement, trademark

 infringement, damages to business reputation, breach of contract, and fraud and conversion.

          First, regarding copyright and trademark infringement, IDS alleges that it holds a United

 States copyright, two registered trademarks, and similar intellectual property rights in Europe

 (obtained by RPE and assigned to IDS). (Complaint ¶ 10; Complaint Ex. J.) IDS alleges that

 RPE violated the United States Copyright Act by modifying the Reiss Profile, developing a

 derivative work, potentially competing with IDS, and using revised score reports and

 insufficiently trained “Masters.” (Complaint ¶¶ 35-48.) Similarly, IDS alleges that RPE violated

 the Lanham Act by using the words “Reiss Profile” and “Motivation” in parts of its business

 names, and using its own scoring services. (Complaint ¶¶ 49-59.) All of those allegations

 concern actions taken by RPE within the License Territory – and none in the United States.

          Second, regarding damages to business reputation, IDS alleges that “customers will feel

 betrayed” in the future by RPE’s actions and IDS may face litigation. (Complaint ¶¶ 60-64.)



 4
   Germany has jurisdiction over that case under the limited forum selection clause in the License, which states that
 “RPE shall have the right to initiate and execute lawsuits within the License Territory for the purpose of protecting
 rights granted under this Agreement.” (Complaint Ex. A at p. 6, Clause Eighth (b).)

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        Third, IDS alleges an assortment of contract breaches by RPE, including translating the

 Reiss Profile, developing a competing assessment, sharing confidential information with the

 University of Luxembourg, improperly granting sublicenses, and using its own scoring software

 and interpretation reports. (Complaint ¶¶ 65-78.)

        Finally, IDS alleges that RPE perpetrated a fraud because RPE entered into the License

 (ten years ago) only to obtain IDS’s confidential information. (Complaint ¶¶ 80, 91, 92.)

 Moreover, in a conclusory fashion, IDS alleges that it “justifiably relied upon RPE’s

 representations in the License and, based upon those representations, granted RPE access to its

 copyright and trademarks.” (Complaint ¶ 82.) The purported evidence of RPE’s intent is that

 RPE has not exploited the License to its fullest and that RPE voluntarily terminated the License.

 (Complaint ¶¶ 85, 90.) Additionally, IDS alleges as fraud that RPE improperly sold shares of its

 business. (Complaint ¶ 87.)

        Regardless of the merits of any of these claims, any pertinent RPE witnesses and

 documentation is located in Europe, mostly in the Netherlands or Germany. Additionally, a vast

 majority of the documents are in foreign languages – either German or Dutch. (Delnoy Dec. ¶

 13; Boltersdorf Dec. ¶ 13.)

                                           ARGUMENT

                                                 I.

                       PLAINTIFF CANNOT ESTABLISH
            THE COURT’S PERSONAL JURISDICTION OVER DEFENDANT

        Plaintiff has the burden of establishing, with reasonable particularity, the nature and

 extent of the non-resident defendant’s contacts with Ohio so as to permit an Ohio court to

 exercise personal jurisdiction over RPE. Calphalon Corp. v. Rowlette, 228 F.3d 718, 721 (6th

 Cir. 2000); Campinha-Bacote v. Wick, 2015 WL 7354014, at *2 (S.D. Ohio Nov. 20, 2015).

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 Plaintiff must show that jurisdiction “meets both the state long-arm statute and constitutional due

 process requirements.” Calphalon, 228 F.3d at 721 (internal citations omitted); see also

 Goldstein v. Christiansen, 70 Ohio St.3d 232, 638 N.E.2d 541, 543 (1994); Campinha-Bacote,

 2015 WL 7354014, at *2. IDS, however, fails on both fronts. First, Ohio’s long-arm statute is

 inapplicable because IDS cannot show that RPE transacted business in Ohio. Additionally, IDS

 is unable to establish that this Court’s exercise of personal jurisdiction would satisfy

 constitutional concerns. Therefore, this case should be dismissed for lack of jurisdiction. 5

 A.       Ohio’s Long-Arm Statute Does Not Apply

          IDS relies only on Ohio Revised Code § 2307.382(A)(1) as its basis for personal

 jurisdiction over RPE. (Complaint ¶ 4.) That provision of Ohio’s long-arm statute permits a

 court to exercise personal jurisdiction for a cause of action that arises from a defendant’s

 “[t]ransacting any business in this state[.]” R.C. § 2307.382(A)(1). Whether a nonresident did

 so is determined on the facts specific to the transaction. U.S. Sprint Commc’ns Co. Ltd.

 Partnership v. Mr. K's Foods, Inc., 68 Ohio St.3d 181, 624 N.E.2d 1048, 1052 (1994). Looking

 at the totality of the facts, RPE clearly has not transacted business in Ohio, rendering jurisdiction

 plainly unavailable.

          The transaction at issue is the License that IDS and RPE executed in 2006 – which is

 completely untethered from Ohio. 6 The only in-person meetings concerning negotiation of the

 License were held in Germany – where IDS travelled to meet RPE. Contrastingly, no RPE




 5
  Since, IDS relies only on an assertion of specific jurisdiction and not general jurisdiction (Complaint ¶ 4), RPE
 focuses herein only on whether specific jurisdiction exists. In any event, there is no doubt that general jurisdiction is
 unavailable under the Supreme Court’s ruling in Daimler AG v. Bauman, 134 S. Ct. 7461 761 (2014), because
 RPE’s Ohio contacts are clearly not “continuous and systematic as to render [RPE] essentially at home in” Ohio.
 6
   IDS’s office in Ohio, despite failing to procure the necessary license to operate there (R.C. § 1703.03), is an
 improper jurisdictional consideration because the only relevant contacts are those of RPE, as discussed below.

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 representative travelled to Ohio for the negotiations. (Delnoy Dec. ¶¶ 4, 5, 9; Boltersdorf Dec.

 ¶¶ 4, 5, 9.)

         Moreover, the License does not concern the United States—let alone Ohio—at all. The

 License grants RPE rights and obligations only in certain European countries. “All rights of

 commercial exploitation transferred by IDS Publishing to RPE shall be limited to the License

 Territory,” defined as “the nations of Germany, Netherlands, Belgium, Luxembourg, France, and

 Italy…but nowhere else.” (Complaint Ex. A at p.3.) Critically, therefore, RPE has no rights –

 and the License expressly precludes RPE from operating – anywhere outside the License

 Territory. That of course includes the United States and Ohio. Indeed, RPE never made a single

 sale pursuant to the license within the United States (as it could not), nor did it conduct any

 marketing or deliver any product anywhere in the United States, or otherwise earn any revenue

 from the United States. (Delnoy Dec. ¶ 10; Boltersdorf Dec. ¶ 10.)

         Naturally, the License required all payments to be made in euro currency, and for almost

 four years payments were made by wire transfer from the Netherlands, through Great Britain, to

 an account in Missouri (not Ohio). (Delnoy Dec. ¶ 11; Boltersdorf Dec. ¶ 11; Complaint Ex. A

 at pp. 5-6, Clause Seventh.)

         The limited contacts IDS relies upon to establish jurisdiction – RPE sent the executed

 License, paid, and dealt with IDS in Ohio (Complaint ¶ 4) – are all insufficient as a matter of

 law, as they do not amount to the transaction of business in Ohio. Not surprisingly, personal

 jurisdiction is improper when a defendant’s sole contacts are (i) contracting with an Ohio

 corporation and (ii) sending payments there – even when a choice-of-law provision mandates

 application of Ohio law. Natl. City Bank v. Yevu, 898 N.E.2d 52 (Ohio Ct. App. 2008)

 (reversing, with instruction to dismiss for lack of personal jurisdiction). That holding applies



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 with even more force here because IDS is not an Ohio corporation, RPE wired payments for

 years to Missouri, and there is no choice-of-law provision. See also Epic Commc’ns, Inc. v.

 Progressive Commc’ns, Inc., 2008 WL 1930419, at *4 (N.D. Ohio Apr. 30, 2008) (granting

 motion to dismiss for lack of personal jurisdiction where foreign corporation negotiated contract

 by phone, then signed and faxed a contract to Ohio, and sent payments to Ohio); Epic Commc’ns

 v. ANS Connect, 2008 WL 2766285 (Ohio Ct. App. July 17, 2008) (affirming dismissal for lack

 of personal jurisdiction against a foreign corporation where defendant’s contacts were limited to

 negotiations by phone, faxing a signed contract to Ohio, and being obligated to send payments

 there); Alpha Telecom., Inc. v. ANS Connect, 2008 WL 2487248 (Ohio Ct. App. June 19, 2008)

 (affirming motion to dismiss for lack of personal jurisdiction where defendant negotiated

 contract by telephone, faxed the signed contract to Ohio, sent other faxes, mail and email to

 Ohio, and plaintiff performed contract in Ohio).

        Indeed, particularly instructive is the decision in LaFarge N. Am., Inc. v. Forbes, 2008

 WL 4877312 (Ohio Ct. App. Nov. 3, 2008), where the appellate court affirmed the dismissal for

 the lack of jurisdiction. LaFarge concerned “a foreign corporation purchasing a product from

 another state from another foreign corporation, which happens to have an office in Ohio.” Id. at

 *4. That is remarkably similar to the situation here – as both IDS and RPE are foreign

 corporations, and IDS happens to have an Ohio office. Moreover, in LaFarge, there was “quite

 simply no business of any type taking place in or concerning Ohio under the parties' agreement.”

 Id. Here too, as the License Territory excluded the United States. Finally, the parties’ Ohio

 contacts in LaFarge – limited to telephone contacts and signing the agreement – was held

 insufficient “to create a ‘substantial connection’ with Ohio in order to declare that [defendant]

 was ‘transacting business’ under these circumstances.” Id. (citing Burger King Corp. v.



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 Rudzewicz, 471 U.S. 462 (1985)). The contacts here are even more limited: IDS travelled to

 Germany to negotiate the License, while RPE did not travel to Ohio; the License Territory

 excluded the United States; a signed version of the License was only faxed to IDS; and only a

 subset of payments were made to Ohio.

        Accordingly, RPE did not transact business in Ohio.

 B.     Jurisdiction Over Defendant
        Would Violate Federal Due Process

        Even if IDS could satisfy Ohio’s long-arm statute – but it cannot – IDS must show that

 personal jurisdiction over RPE arising from RPE’s contacts with Ohio would satisfy the Due

 Process Clause of the Fourteenth Amendment. A “nonresident generally must have ‘certain

 minimum contacts…such that the maintenance of the suit does not offend ‘traditional notions of

 fair play and substantial justice.’’” Walden v. Fiore, 134 S.Ct. 1115, 1121(2014) (quoting

 International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)). “[T]he relationship must arise

 out of contacts that the ‘defendant himself’ creates with the forum State.” Id. at 1122 (internal

 citation omitted). Thus, that analysis “looks to the defendant's contacts with the forum State

 itself, not the defendant's contacts with persons who reside there.” Id. Further, there are

 “[s]pecial concerns” when the defendant is a foreign company. Nationwide Mut. Ins. Co. v. Tryg

 Intl. Ins. Co., Ltd., 91 F.3d 790, 797 (6th Cir. 1996).

        Personal jurisdiction “satisfies due process if ‘the defendant purposefully avails itself of

 the privilege of conducting activities within the forum State,’ such that it ‘should reasonably

 anticipate being haled into court there.’” Id. at 793 (quoting Hanson v. Denckla, 357 U.S. 235,

 253 (1958) and World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). The

 “‘purposeful availment’ requirement ensures that a defendant will not be haled into a jurisdiction




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 solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts.” Id. at 795 (internal citations

 omitted).

           This Circuit uses a three-part test to make that determination. The defendant must

 “purposefully avail himself of the privilege of acting in Ohio”; “the cause of action must arise

 from the defendant's activities there”; and defendant’s acts must have a “substantial enough

 connection” to make “the exercise of jurisdiction over the defendant reasonable.” Calphalon,

 228 F.3d at 721 (citing Southern Mach. Co. v. Mohasco Indus., Inc., 401 F.2d 374, 381 (6th Cir.

 1968)).

           Merely knowing that actions may have an effect in Ohio “is not enough to show

 purposeful availment.” Campinha-Bacote, 2015 WL 7354014, at *5 (citing Walden, 134 S. Ct.

 at 1125). Therefore, like here, jurisdiction is not available where a defendant uses “a copyright

 owned by a person in Ohio and had knowledge that Plaintiff resided in and/or conducted

 business in Ohio such that Defendant knew the injury would occur in Ohio[.]” Id. at *4. (citing

 Maxitrate Tratamento Termico E Controles v. Super Sys., Inc., 617 Fed. Appx. 406, 407 (6th Cir.

 2015), cert denied sub nom., Maxitrate Tratamento Termico E Controles v. Allianz Seguros S.A.,

 136 S.Ct. 336 (2015)). Moreover, RPE’s limited payments to Ohio, and its contract with an

 Illinois corporation that had an Ohio office, is insufficient to exercise jurisdiction. Nationwide

 Mut., 91 F.3d at 795, 796.

           The Sixth Circuit’s decision in Calphalon is on-point. In Calphalon, the parties agreed

 that defendant would represent plaintiff in states other than Ohio, and “performance of the

 agreement was not focused on exploiting any market…in the state of Ohio.” Calphalon, 228

 F.3d at 723. Here too, the License did not concern Ohio at all, but only “exploiting” certain

 European markets. Further, defendant in Calphalon called, mailed, faxed and visited the



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 plaintiff in Ohio, simply because plaintiff was headquartered there. Id. RPE’s contacts to Ohio

 – even more limited – were likewise solely the result of plaintiff’s Ohio office. Further, “[t]he

 use of interstate facilities such as the telephone and mail is a ‘secondary or ancillary’ factor and

 ‘cannot alone provide the minimum contacts required by due process.’” Reynolds v. Intl.

 Amateur Athletic Fed’n., 23 F.3d 1110, 1119 (6th Cir.) (internal citation omitted, alterations in

 original), cert. denied, 115 S. Ct. 423 (1994). Thus, RPE’s contacts, like the defendant in

 Calphalon, “were precisely the type of ‘random,’ ‘fortuitous,’ and ‘attenuated’ contacts that the

 purposeful availment requirement is meant to prevent from causing jurisdiction[.]” Calphalon,

 228 F.3d at 723 (internal citation omitted).

        Next, the Court held that the “the ‘arising from’ requirement…is satisfied when the

 operative facts of the controversy arise from the defendant’s contacts with the state,” but this

 action arises solely from RPE’s actions in Europe. Id. at 723-24; see Facts, D.

        And regarding reasonableness, the Court held that since the defendant earned

 commissions in the contract’s sales territory (not Ohio), defendant did not have a “substantial

 connection” to Ohio such that “exercise of jurisdiction over the defendant [is] reasonable.”

 Calphalon, 228 F.3d at 724. See also Matrix Essentials, Inc. v. Harmon Stores, Inc., 205 F.

 Supp. 2d 779, 787-88 (N.D. Ohio 2001).

        The same applies here because RPE (and this action as a whole) had no connection (and

 certainly not one that is substantial) to Ohio. This case is between two companies that are

 foreign to Ohio. RPE, a Dutch corporation with no Ohio (or U.S.) connection, is not licensed to

 conduct business in the United States; has no employees in the United States; has no office,

 registered agent, or any property in the United States. (Delnoy Dec. ¶ 3; Boltersdorf Dec. ¶ 3.)

 Further, the License concerned only the License Territory, i.e., markets in Europe. IDS, in turn,



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 is an Illinois corporation that, up until May 31, 2016, was not licensed to conduct business in

 Ohio. (Evans Dec. ¶¶ 3-4; Evans Dec. Ex. B & C.) And RPE never made a single sale within

 the United States, or otherwise marketed or delivered any product in or to the United States.

 Thus, it is not reasonable to foresee that RPE’s actions in Europe would necessitate litigation in

 Ohio.

          The Due Process Clause thus compels dismissal due to RPE’s lack of minimum contacts

 with Ohio.

                                                 II.

         FORUM NON CONVENIENS COMPELS DISMISSAL OF THIS ACTION
         A case should be dismissed on forum non conveniens grounds where the defendant

 shows (1) that there is an available and adequate alternative forum, and (2) that the balance of

 private and public interest factors favors dismissal. Barak v. Zeff, 289 Fed. Appx. 907, 910 (6th

 Cir. 2008) (affirming dismissal for forum non conveniens); Rustal Trading US, Inc. v. Makki, 17

 Fed. Appx. 331, 335-36 (6th Cir. 2001) (same). Since both the private and public factors support

 dismissal, and there is an adequate alternative forum, RPE’s motion for dismissal for forum non

 conveniens should be granted.

 A.      There Is An Adequate Alternative Forum

         The Netherlands is an adequate and available forum. “This requirement is normally

 satisfied when the defendant is ‘amenable to process’ in the foreign jurisdiction.” Rustal

 Trading, 17 Fed. Appx. at 335 (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 254 n. 22

 (1981)). RPE is amenable to process in the Netherlands. (Koeveringe Dec. ¶ 3.)

         The alternative forum may be inadequate, however, if there is no proper remedy and there

 are “serious obstacles to conducting litigation [there], such as a well-founded fear of

 persecution[.]” Id. at 335. No such concern exists here. The Netherlands recognizes causes of

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 action for those claims asserted in the complaint. (Koeveringe Dec. ¶ 4.) Federal courts have

 acknowledged that previously. See e.g., Evolution Online Sys., Inc. v. Koninklijke Nederland

 N.V., 41 F. Supp. 2d 447 (S.D.N.Y. 1999) (dismissing case on forum non conveniens case which

 contained allegations for breach of contract and copyright infringement, holding Netherlands was

 an adequate forum). Thus, Netherlands is clearly an adequate and available alternative forum.

 See Barak, 729 Fed. Appx. at 910-11. 7

 B.         The Private Interests Favor Dismissal

            The Supreme Court has set forth several “private interests” that should be weighed. See

 Piper Aircraft, 454 U.S. at 241 n. 6. Doing so here supports dismissal as the Netherlands is

 clearly the proper forum, where both IDS and RPE already have retained counsel.

            One private interest cited by the Supreme Court which tilts toward dismissal is “the

 relative ease of access to sources of proof[.]” Id. (internal citation omitted). Here, “the bulk of

 the documents and records constituting necessary proof in the litigation” are located abroad. See

 Barak, 289 Fed. Appx. at 912. The parties primarily negotiated the License in Germany and

 IDS’s allegations chiefly concern actions taken by RPE in Europe. For example, the alleged

 infringement of IDS’s copyright and trademark, breach of the License, and perpetration of a

 fraud all arise from actions taken by RPE in Europe. (See Facts, D.) Accordingly, the witnesses

 who would testify, and any documentary evidence, are all located in Europe. (Delnoy Dec. ¶ 13;

 Boltersdorf Dec. ¶ 13.)

            By comparison, IDS would only need few witnesses and documents to present its case.

 There would be virtually no testimony by IDS concerning RPE’s actions – as no IDS witness

 could present admissible testimony concerning, for example, whether RPE improperly translated


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     Alternatively, Germany, where litigation is currently pending, may also be a proper alternative. (Müller Dec. ¶ 8.)

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 the Reiss Profile, developed a mobile application, altered the Reiss Profile, or disclosed

 confidential and trade secret information to the University of Luxembourg. (Complaint ¶¶ 28,

 29, 39, 41, 69).

        Another private interest supporting dismissal is the “availability of compulsory process

 for attendance of unwilling, and the cost of obtaining attendance of willing, witnesses[.]” Piper

 Aircraft, 454 U.S. at 241 n. 6 (internal citation omitted). The many potential witnesses located in

 Europe frustrates that availability and increases the costs of appearance, including the

 complications arising from the lack of a U.S. court’s power to compel certain foreign citizens to

 appear for testimony.

        Moreover, a vast majority of RPE’s documents are in Dutch and German, thus

 necessitating costly translations, yet another “recognized factor supporting dismissal on the basis

 of forum non conveniens.” Barak, 289 Fed. Appx. at 913. (Delnoy Dec. ¶ 13; Boltersdorf Dec.

 ¶ 13.) And the documents are subject to European Union privacy laws, which could further

 complicate their production in this litigation. For example, IDS alleges that RPE has certified

 approximately 1,000 individuals as “Masters”; IDS has demanded identification of each Master;

 and RPE has refused to disclose that information. (Complaint ¶¶ 72-73.) By providing that

 information, however, and any specific identification of any Master (as well as any other RPE

 client or customer), RPE would violate the law. (Koeveringe Dec. ¶ 5; Müller Dec. ¶ 9.)

        Thus, many “practical problems” will complicate litigating this case in the United States,

 which make the trial far from “easy, expeditious and inexpensive.” Piper Aircraft, 454 U.S. at

 241 n. 6 (internal citation omitted). On balance, the Netherlands provides a more efficient, less

 expensive forum to litigate this dispute.




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 C.     The Public Factors Also Support Dismissal

        An analysis of the “public factors” also supports trial in the Netherlands.

        1.      Ohio Does Not Have A Local Interest In,
                And Would Be Burdened By, This Action

        The first public factor identified by the Supreme Court is the “‘local interest in having

 localized controversies decided at home[.]’” Piper Aircraft, 454 U.S. at 241 n. 6. Yet this action

 is a dispute between a Dutch and Illinois corporation, concerning a contract negotiated in

 Germany, giving RPE rights in certain European countries. Also considered is “the unfairness of

 burdening citizens in an unrelated forum with jury duty.” Id. The forum is clearly “unrelated,”

 and IDS has demanded a jury trial.

        2.      Ohio Does Not Have An Interest In Applying Its Own Law,
                Because Dutch Law Should Govern

        Second, there is an interest in having a court apply its own law, and avoid the

 “unnecessary problems in conflict of laws, or in the application of foreign law[.]” Piper Aircraft,

 454 U.S. at 241 n. 6. This factor strongly supports dismissal because Dutch law should govern.

 Ohio courts adopt the factors set forth in the Restatement (Second) of the Law of Conflicts to

 decide which state’s laws apply to contract and tort claims. Jamhour v. Scottsdale Ins. Co., 211

 F. Supp. 2d 941, 949-52 (S.D. Ohio 2002).

        Contract claims are governed by Section 188 of the Restatements (Second) of Conflict of

 Laws, which seeks to determine the state with “the most significant relationship to the

 transaction[.]” Id. The relevant factors include the place of contracting, negotiation and

 performance, as well as the “domicile residence, nationality, place of incorporation and place of

 business of the parties.” Id.; RESTATEMENTS (SECOND) OF CONFLICTS OF LAWS, § 188 (2). The



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 first factor, places of negotiation and contracting, is “relatively insignificant” and “of less

 importance where there is no one single place of negotiation and agreement.” Jamhour, 211 F.

 Supp. 2d at 950 (internal citations omitted). Here, the negotiation and agreement occurred in

 multiple places, predominantly Germany, and also the Netherlands, and Ohio. (Delnoy Dec. ¶¶

 4-8; Boltersdorf Dec. ¶¶ 4-8.) The second factor, contract performance, was not Ohio, but the

 “License Territory” of Germany, the Netherlands, Belgium, Luxemburg, France, and Italy.

 (Complaint Ex. A. at p. 3.) The third factor also clearly weighs heavily towards Dutch law since

 RPE is a Dutch corporation operating in the Netherlands, while IDS is an Illinois corporation.

 See Jamhour, 211 F. Supp. 2d at 951.

         Turning to the fraud claims, Section 148 of the Restatements (Second) of Conflicts of

 Law governs, and also supports application of Dutch law. See Id. at 951-52. The relevant

 factors include where plaintiff acted in reliance upon defendant’s representations, where plaintiff

 received those representations, defendant’s location when it made them, each party’s respective

 place of incorporation and of business, and where plaintiff is to render performance. Id.;

 RESTATEMENTS (SECOND) OF CONFLICTS OF LAW § 148. As explained below, IDS fails to

 identify specific fraudulent statements made by RPE, so RPE is hamstrung from weighing many

 of these factors. However, by necessity, any statements attributable to RPE must have been

 made in either Germany or the Netherlands because the only in-person meetings occurred in

 Germany, and RPE representatives never visited Ohio for the negotiations. 8 (Delnoy Dec. ¶¶ 4,

 9; Boltersdorf Dec. ¶¶ 4, 9.) Moreover, like the contractual analysis, the party’s respective




 8
  Because IDS has not identified any specific misrepresentations, it cannot be determined where IDS was located
 when it allegedly received those statements.

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 places of incorporation and business, as well as plaintiff’s obligation to render performance in

 Europe, all weigh in favor of Dutch law.

        Accordingly, all of plaintiff’s claims should be decided under Dutch law.

                                                  III.

                       PLAINTIFF FAILS TO STATE CLAIMS
                 FOR COPYRIGHT AND TRADEMARK INFRINGEMENT
        The Complaint concerns only non-U.S. actions taken by RPE. The Copyright Act,

 however, does not apply to those actions. Moreover, while the Lanham Act may apply

 extraterritorially in limited circumstances, it does not here. Therefore, the Complaint fails to

 state any cognizable claim of copyright or trademark infringement, and those claims must be

 dismissed.

 A.     The Copyright Act Does Not Apply To Defendant’s Actions Abroad

        “[I]t is a long-standing principle that United States copyright laws do not have

 extraterritorial operation.” Liberty Toy Co., Inc. v. Fred Silber Co., 149 F.3d 1183, *3 (6th Cir.

 1998) (citing, inter alia, Update Art, Inc. v. Modiin Publ’g, Ltd., 843 F.2d 67, 73 (2d Cir. 1988)

 (“It is well established that copyright laws generally do not have extraterritorial application.”));

 Subafilms, Ltd. v. MGM–Pathe Commc'ns Co., 24 F.3d 1088, 1093 (9th Cir.1994) (en banc)

 (noting the “undisputed axiom that United States copyright law has no extraterritorial

 application”). Although if “some act of infringement occurred in the United States, the

 Copyright Act applies,” – where, as here, “all the copying or infringement occurred outside the

 United States, the Copyright Act would not apply.” Liberty Toy, 149 F.3d at *3.

        Even if RPE infringed on IDS’s copyright, there are no allegations in the Complaint that

 any such actions were taken within the United States. See Complaint. Indeed, RPE never took

 any actions within the United States concerning the copyrighted material because the License

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 concerned only certain European countries – which is where all of RPE’s actions occurred and

 where it operates. (Delnoy Dec. ¶¶ 2-3, 10; Boltersdorf Dec. ¶¶ 2-3, 10.) IDS does not allege

 any such act occurred, nor can it. Accordingly, IDS fails to state a claim for copyright

 infringement.

 B.       The Lanham Act Does Not Apply To Defendant’s Actions Abroad

          This court must balance three factors to determine if the Lanham Act applies to non-U.S.

 actions:

          To establish whether circumstances call for extraterritorial application of
          the Lanham Act, courts have traditionally considered: (1) whether the
          defendant's conduct has a substantial effect on commerce in the United
          States; (2) whether the defendant is a citizen of the United States; and (3)
          whether there exists a conflict between defendant's trademark rights
          established under foreign law, and plaintiff's trademark rights established
          under domestic law.

 Groeneveld Transp. Efficiency, Inc. v. Lubecore Intl., Inc., 730 F.3d 494, 536–37 (6th Cir. 2013)

 (dissent). 9 See also Liberty Toy, 149 F.3d at *3; Mertik Maxitrol GMBH & Co. KG v. Honeywell

 Tech. Sarl, 2011 WL 1454067, at *6 (E.D. Mich. Apr. 13, 2011).

          Primarily, the second factor clearly supports dismissal because RPE is a Dutch citizen.

          Next, IDS fails to allege any substantial effect on United States commerce, and cannot

 make any such showing. Simply, the License concerns only certain countries in Europe. None

 of RPE’s products or services are available in the United States, and there is no claim that RPE

 offered them in the United States over the course of a ten-year relationship between the parties.

 See Mertik Maxitrol, 2011 WL 1454067, at *6. Mere speculation – even if there were any – by



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   Because the majority concluded that there was no trademark violation, plaintiff’s request that the injunction
 include Canada and the United States was “moot because [the court] set aside the injunction altogether.” Id. at 521.
 Dissenting, Circuit Judge Helene White held the injunction should not be vacated, and thus had to address whether
 the injunction’s scope should be broadened to include Canada. Id. at 536-37. In so doing, Judge White examined
 the extraterritorial application of the Lanham Act, as set forth above.

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 IDS that RPE’s foreign actions will substantially effect United States commerce is insufficient.

 Groeneveld, 730 F.3d at 536-37.

        The final factor also supports dismissal. Although RPE does not own a trademark in the

 European Union, there is a relevant trademark that RPE obtained and assigned to IDS.

 (Complaint Ex. J.) Moreover, the License confers rights upon RPE to exploit the trademarks at

 issue in the License Territory. Thus, RPE’s rights and obligations are governed by the EU

 trademark and the License. Any ruling on the infringement of a U.S. trademark, because of

 actions RPE took in Europe, could conflict with RPE’s rights.

        Thus, all three factors weigh against applying the Lanham Act extraterritorially here, and

 IDS’s claim for trademark infringement must be dismissed.

                                                  IV.

                     PLAINTIFF’S FRAUD CLAIM IS DUPLICATIVE OF
                    ITS CONTRACT CLAIM, AND MUST BE DISMISSED
        Should this Court hold that U.S. law governs IDS’s fraud claim, it should be dismissed

 for failure to state a claim. First, “[i]n Ohio, a breach of contract does not create a tort claim.”

 Textron Fin. Corp. v. Nationwide Mut. Ins. Co., 684 N.E.2d 1261, 1270 (Ohio Ct. App. 1996)

 (citing Wolfe v. Continental Cas. Co., 647 F.2d 705, 710 (6th Cir. 1981), dismissed sua sponte,

 676 N.E.2d 531 (1997)). Rather, “the existence of a contract action excludes the opportunity to

 present the same case as a tort claim.” Id. (internal citation and alternations omitted).

 Accordingly, “[a] tort claim based upon the same actions as those upon which a claim of contract

 breach is based will exist independently of the contract action only if the breaching party also

 breaches a duty owed separately from that created by the contract, that is, a duty owed even if no




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 contract existed.” Id. (emphasis added) (citing Battista v. Lebanon Trotting Assn., 538 F.2d 111,

 117 (6th Cir. 1976)). 10

          IDS fails to allege any independent duty that RPE has breached. Instead, the fraud claim

 merely duplicates the contract claim. Attempting to plead the misrepresentation upon which it

 relied, IDS identifies only “RPE’s representations in the License[.]” (Complaint ¶ 82.)

 Moreover, IDS claims that RPE’s sale of shares in its business without IDS’s approval is fraud

 (Complaint ¶ 87) – but, even if true, that is a breach of contract, as IDS concedes (see Complaint

 ¶ 28 (“IDS notified RPE of a number of violations of the License, demanding that RPE cease and

 desist from those activities, including…creating an unauthorized…business that appeared to be

 selling RPE shares to investors”)). 11

          Second, IDS has failed to sufficiently plead fraud, which has heightened pleading

 requirements and must be done with particularity. Fed. R. Civ P. 9(b). Fraud is alleged where a

 party is damaged by its justifiable reliance on a knowing misrepresentation of a material fact,

 made with intent of misleading another into relying on it. RAE Assocs., 36 N.E.3d at 762.

          Rather than plead with any particularity, IDS alleges solely in a conclusory fashion and

 “upon information and belief.” For example, IDS claims it “justifiably relied upon RPE’s

 representations in the License and, based upon those representations, granted RPE access to its




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    See also RAE Assocs., Inc. v. Nexus Commc’n, Inc., 36 N.E.3d 757, 762 (Ohio Ct. App. 2015) (“This court has
 held that a tort claim, such as fraud, generally cannot duplicate the factual and legal elements of a parallel claim for
 breach of contract”), appeal not accepted, 45 N.E.3d 244 (2016), reconsideration denied sub nom., RAE Assoc., Inc.
 v. Nexus Commc’n, Inc., 145 Ohio St.3d 1447, 48 N.E.3d 585 (2016).
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   Although the identification of Count V is “Fraud and Conversion,” IDS does not attempt to plead a cause of action
 for conversion. There is no allegation that RPE actually converted anything, nor any pleading that RPE refused to
 deliver property to its rightful owner after demand. See Dice v. White Family Cos., 878 N.E.2d 1105, 1109 (Ohio
 Ct. App. 2007); Barnes v. First Am. Title Ins. Co., 2006 WL 2265553, at *8 (N.D. Ohio Aug. 8, 2006). In any
 event, a conversion claim would have to be dismissed because, like fraud, IDS would have to plead the breach of a
 duty that is owed independently of the contract, which it has not done. Barrett-O'Neill v. Lalo, LLC, 2016 WL
 1110319, at *16-17 (S.D. Ohio Mar. 22, 2016).

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 copyright and trademarks.” (Complaint ¶ 82.) It fails to identify any specific representation, or

 anything apart from the License. Further, IDS implausibly alleges that RPE fraudulently entered

 into the License to steal IDS’s intellectual property. (Complaint ¶¶ 80, 81, 91, 92). The totality

 of purported supporting allegations is simply (i) that RPE did not “exploit the License to its

 fullest” (which, if true, may be a contractual breach), and, remarkably, (ii) that RPE “voluntary

 terminate[d] the License” – ten years after the License was executed. (See Complaint ¶¶ 85, 90.)

 IDS also claims RPE’s ownership structure and sale of its shares is a fraud (Complaint ¶¶ 86-87),

 but there is no allegation of any material misrepresentation made by RPE that IDS justifiably

 relied upon. And finally, no damages are alleged.

        In sum, the fraud claim must be dismissed.

                                                 V.

                      THE “DAMAGES TO BUSINESS REPUTATION”
                        CLAIM IS IMPROPERLY SPECULATIVE
        IDS claims damages to its “business reputation” because of the possibilities that certain

 “customers will feel betrayed when they eventually realize that RPE has used non-licensed

 training materials…” and “could be unjustly subject to litigation from these customers…, which

 at a minimum would give rise to litigation costs to defend itself.” (Complaint ¶¶ 61, 63

 (emphasis added).) However, damages “must be shown with certainty, and damages that are

 merely speculative will not give rise to recovery.” RAE Assocs., 36 N.E.2d at 764 (citing Moton

 v. Carroll, 2002 WL 206196 (Ohio Ct. App. Feb. 12, 2002)). IDS here pleads nothing more than

 speculative, potential future damages. Accordingly, this claim should be dismissed.




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                                           CONCLUSION

        For the foregoing reasons, RPE respectfully requests that plaintiff’s complaint should be

 dismissed with prejudice.

 Dated: September 14, 2016
                                                Respectfully submitted,


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                                   CERTIFICATE OF SERVICE
        I hereby certify that on the 14th day of September, 2016, a copy of the foregoing

 Defendant’s Memorandum of Law in Support of Its Motion to Dismiss the Complaint was filed

 electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

 filing system. Parties may access this filing through the Court’s system.



                                                /s/ Michael T. Altvater
                                                Counsel for Defendant

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